       Case 1:21-cv-00322-CM Document 179 Filed 04/17/24 Page 1 of 2
       Case 1:20-cv-08924-CM Document 1166-1 Filed 04/16/24 Page 1 of 45




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

  In Re: New York City Policing
  During Summer 2020 Demonstrations
                                                      20 Civ. 8924 (CM)(GWG)



                                                                       j ORDER

  This filin g is related to:
  Payne v. de Blasio, 20 Civ. 8924;
  People of the State of New York v.                      ;usDCSDNY
  City of New York, No. 2 l-cv-322;                        DOCUMENT
   Gray, et al v. City ofNew York, et al,                  ELECTRONICALLY FILED
    o. 2 I -cv-066 IO ;                                    D'JC #: _ _ _ _ ,-+-__,,___
                                                              \l -   FiLED:
   Rolon, et al v. City of New York, et al,
   No. 2 l-cv-2548.



        Consistent with the Court's February 7, 2024 Decision and Order (ECF No. I 14 7)

granting the Parties' Joint Motion to Dismiss Injunctive Claims with Prejudice and Retain

Jurisdiction (ECF No. I 099), the Court hereby enters this Stipulation of Dismissal, retaining

jurisdiction to enforce the attached Stipulated Order Pursuant to Fed . R. Civ. P. 41 (a)(2) (the

"Agreement") in accordance with its terms for the duration of the Agreement, and incorporates

into this Order the terms of the Agree ment, which is annexed hereto as Exhibit A. See Kukkunen

v. Guardian Life Ins. Co. of Am .. 511 U. S. 375, 381 (1994) (recognizing that a federal district

court may reta in jurisdiction to enforce a "dismissal-producing settlement agreement" in its

order); Hendrickson v. Un ited States, 791 F.3d 354, 358 (2d Cir. 20 I 5); see, e.g., So-Ordered

Stipulation of Vo luntary Dismissal With Prejudice, Dannhauser v. TSG Reporting, Inc .. No. 16
        Case 1:21-cv-00322-CM Document 179 Filed 04/17/24 Page 2 of 2
        Case 1:20-cv-08924-CM Document 1166-1 Filed 04/16/24 Page 2 of 45




Civ. 747 (S.D.N.Y. Dec. 20, 2017), ECF No. 93. 1 Subject to the terms of this Order, the Court

dismisses the remaining injunctive claims in the consolidated cases in the above-captioned action

with prejudice pursuant to Federal Rule of Civil Procedure 41 (a)(2).



    SO ORDERED this   /l day of ~           , 2~ J                /4{_
                                               Hon. Colleen McMahon
                                               United States District Judge




1
 See also Memo Endorsement Order, Dannhauser v. TSG Reporting, Inc., No. 16 Civ. 747,
(S.D. .Y. July 9, 2019), ECF. No. 109 at I, 13 (Court's endorsement of magistrate j udge ' s
report and recommendation finding the Court did have ancillary jurisdiction to decide dispute.)
                                                 2
